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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                  Case No. 18-cr-20481
                                                    District Judge Paul D. Borman
JUAN FRANKLIN,

       Defendant.                      /

     ORDER DENYING DEFENDANT'S MOTION FOR COMPASSIONATE
                     RELEASE (ECF NO. 37)

       Defendant Juan Franklin, who is 46 years old, filed a Motion for

Compassionate Release Pursuant to 18 U.S.C. § 3582(c) on October 6, 2020. (ECF

No. 37.) On October 20, 2020, the Government filed a Response in Opposition.

(ECF No. 41.) On October 27, 2020, Defendant Franklin filed a Reply. (ECF No.

44.)

       Defendant requests a hearing. The Court concludes that the matter is fully

and fairly submitted on the briefs, and a hearing is not necessary. (Local Rule 7.1.)

The United States Court of Appeals for the Sixth Circuit recently stated that

"nothing in 18 U.S.C. § 3582(c)'s text compels a court to hold one…we will not

read a hearing requirement into § 3582(c)(1)(A)…" United States v. Keefer, __ F.

App'x __ (2020), 2020 WL 6112795, October 16, 2020, at pp. 8-9.



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      Defendant contends that "COVID-19 has created unprecedented danger to

incarcerated people within the BOP." (ECF No. 37, PageID 153.) Defendant is

housed at FCI-Butner Low, which is a designated BOP medical facility.

      Defendant contends that he suffers from serious medical conditions,

"including heart disease [pacemaker], kidney disease, primary hypertension,

chronic obstructive pulmonary disease, and obesity [BMI over 30]. Because of this

he is particularly susceptible to severe complications from COVID-19. He tested

positive for COVID-19 in June of 2020 and fears that he will be infected again."

(Id. at PageID 154.) After being quarantined, Defendant has since tested negative

for COVID-19.

      Defendant notes that he pled guilty on February 11, 2019 to two charges:

Felon in Possession of a Firearm, 18 U.S.C. § 922(g)(1), and Possession of a

Firearm in Furtherance of a Drug Trafficking Crime, 18 U.S.C. § 924(c). At his

sentencing on July 15, 2019, the Court imposed a six-month sentence on the

possession charge, and a mandatory minimum consecutive 60-month sentence for

the "furtherance" charge, for a total sentence of 66 months. Defendant notes that as

of October 6, 2020, he "has served approximately 21 percent of his sentence…has

a home detention date of November 11, 2023, and a projected release date of May

11, 2024." (Id. at PageID 154.) He has completed the 12-hour drug program, but




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has not been able to participate in further programming due to COVID-19. (Id.) He

has not received any BOP discipline. (Id.)

      The parties agree that Defendant Franklin has satisfied the exhaustion

requirement in 18 U.S.C. § 3582(c)(1)(A)(i); thus, this matter is properly before

the Court.

      Defendant recognizes that § 3582(c)(1)(A) permits sentencing judges to

grant a reduction, "after considering the 3553(a) factors: if 'extraordinary and

compelling conditions warrant such a reduction,' and such a reduction is consistent

with the applicable policy statements issued by the Sentencing Commission." (Id.

at PageID 155.)

      Defendant initially contends that the COVID-19 pandemic constitutes an

extraordinary situation warranting release. (Id.) Defendant further contends that he

qualifies for release because his medical conditions present Extraordinary and

Compelling Reasons for Release, citing to Defendant's attached BOP Health

Services records. (ECF No. 38, Sealed Exhibit 5: 168 pages.)

      The Court recognizes that Defendant has myriad health issues that, as

confirmed by his BOP Health Services records, have been dealt with at Butner

over his short period of incarceration.

      The Defendant concludes his Motion by stating that "The 18 U.S.C. §

3553(a) factors weigh in favor of release, and Mr. Franklin is not a danger to the

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community." (Id. at PageID 171.) However, Defendant discusses only one other

3553(a) factor--"to provide the Defendant with…medical care…in the most

effective manner" (§ 3553(a)(2)(D)).

      The Government response opposing Defendant's Motion states:

             Although Franklin's heightened risk from COVID-19
             based on his medical condition, qualifies as an
             "extraordinary and compelling reason" for release under
             § 1B1.13(a) & cmt. n.1(A), Franklin's offense and
             criminal history make him a continued danger to the
             community.

(ECF No. 41, 10-20-2020, PageID 354-355.)

      The Government asserts that the Bureau of Prisons has put in place and

updates its protocols in response to COVID-19 within its facilities, as the United

States Court of Appeals for the Sixth Circuit noted in Wilson v. Williams, 961 F.3d

829, 840, 844 (6th Cir. 2020).

      The Government contends that Defendant Franklin is ineligible for

compassionate release because it would not be "consistent with the applicable

policy statements issued by the Sentencing Commission." (18 U.S.C. §

3582(c)(1)(A)). Sentencing Guideline 1B1.13 restricts compassionate release to

defendant's whose release would pose a danger to the safety of the community.

Thus, "the Government's position is that Franklin remains ineligible for

compassionate release because of the danger that he poses to the community,"

tracking the language of Guideline 1B1.13(2): "defendant is not a danger to the
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safety of any other person or to the community, as provided in 18 U.S.C. §

3142(g)." The latter provision is contained within the pretrial release/detention

statute as a factor that must be considered in determining whether to release or

detain a defendant. (Id. at PageID 368-369.)

      The Government notes that Defendant, who was sentenced to 66-months

incarceration, has served a little over 20 percent of his sentence, and that the Sixth

Circuit has supported a district court's consideration of this fact in the

compassionate release context in United States v. Kinkaid, 805 F. App'x 394, 395-

396 (6th Cir., May 18, 2020).

      In conclusion, the Government states:

             The crime he committed was a serious one. He has a
             pattern of criminal activity. He has engaged in drug
             crimes and armed robberies.

(Id. at PageID 371.)

      Defendant's Reply states that because, prior to the instant conviction,

Defendant's last conviction was in 2009, more than 10 years ago, the Court should

focus on his record today--no prison discipline, and his rehabilitative efforts. (ECF

No. 44, PageID 376-377.) Defendant's Reply also emphasizes that his serious

cardiac condition would create an extremely dangerous situation if combined with

a new COVID-19 positive.




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                                   DISCUSSION

      The Court notes that it was aware of Defendant's serious medical condition

and his need for treatment at his sentencing on July 15, 2019. (ECF No. 45,

Sentencing Transcript.) Indeed, the Court asked defense counsel to elaborate on

Defendant's medical condition for the record, that included the installation of the

pacemaker in 2017. (Id. at PageID 388-389.)

      The Government, at the sentencing, did not dispute any of the serious health

issues. (Id. at PageID 390.)

      The Court notes that Defendant's Presentence Investigation Report (PSR)

detailed his BMI (5' 9" tall, 250 pounds), and his multiple health issues for which

he was prescribed medication. (PSR at ¶¶ 48-49, p. 13.)

      In sentencing Defendant to 66 months incarceration, the Court concluded:

             This is a serious offense. He's got drugs. He's got a gun.
             He's out in the neighborhood selling.

             Prior convictions, he has those. He has an armed robbery
             way back…he has a drug offense in '99, drug offense in
             2008.

(Id. at PageID 391.)

      Indeed, the Court concluded at the sentencing that this was a serious offense,

there was a need to protect the public from further crimes of the Defendant and, at

the same time, recognized the necessity to provide him with medical care. (Id. at

PageID 391.) The Court recommended that he be placed in a medical center--and
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indeed recommended FCI-Butner Medical Center as his counsel had requested, and

where Defendant is presently incarcerated. (Id. at PageID 394.)

      This history establishes the Court's awareness of Defendant's significant

medical history 15 months ago at his sentencing. At the same time, the Court also

recognizes the present serious impact of the COVID-19 pandemic and its impact

on compromised individuals like Defendant Franklin.

      The Court has not identified any further health deterioration while

Defendant has been at FCI-Butner. Indeed, the 168 pages of medical records from

FCI-Butner provided by Defendant in ECF No. 38, "sealed," do not establish

further health deterioration, or that he is unable to care for himself.

      In United States v. Keefer, __ F. App'x ___ , 2020 WL 6112795, October 16,

22020, the Sixth Circuit upheld a district court's denial of a defendant's request for

compassionate release noting that, as here, the defendant "is housed in a medical

facility and has access to treatment for all of his health issues," and that "the health

factors that the defendant's motion highlighted were known by the district court at

the time of his sentencing." (Keefer at p. 3.) The Sixth Circuit further noted that, as

in Defendant Franklin's case, "a district court will already have considered and

balanced the § 3553(a) factors the first time around at the original sentencing."

(Keefer at p. 5.)




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      This Court further notes a recent Sixth Circuit published opinion in United

States v. Ruffin, __ F.3d ___ (6th Cir. 2020), 2020 WL 6268582 (6th Cir., October

26, 2020, Case # 20-5748), that deals with a federal prisoner serving a lengthy

prison term, who suffers from many health conditions that he asserts increased his

COVID-19 risks while in prison.

      This Court finds pertinent to this case the following language from Ruffin:

            Even when extraordinary and compelling reasons exist,
            the statute leaves district courts the discretion to deny
            relief under a balancing of the sentencing factors in 18
            U.S.C. § 3553(a). (WL at *1.)

            The court discounted the mitigating value of his health
            conditions because they predated his current offenses and
            had not hindered his ability to commit them. (WL at *2.)

            Ruffin has now served 10 years [40 percent] of his 25-
            year sentence. (WL at *3.)

            The district court noted that the Sentencing
            Commission's guidance required Ruffin to show that, if
            released, he would not be a "danger" to the community.
            U.S.S.G. § 1B1.13(2). (WL at *3.)

            Lastly the [district] court held that the § 3553(a) factors
            counseled against reducing Ruffin's sentence. The court
            reiterated that Ruffin had only served a fraction of that
            sentence and that his immediate release would not reflect
            the seriousness of his offenses. (WL at *4.)

            We have repeatedly recognized that district courts may
            deny relief, under the § 3553(a) factors even if
            "extraordinary and compelling" reasons would otherwise
            justify relief. See, e.g., Keefer, 2020 WL 6112795, at
            *5…When reviewing such a discretionary decision, we
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            consider the entire record, including the court's balancing
            of the § 3553(a) factors at the original sentencing. (WL at
            *10.)

            We have recognized that some of the § 3553(a) factors,
            including the "need to provide just punishment" and "to
            reflect the seriousness of the offense," allow the courts to
            consider the "amount of time" that a defendant has served
            on a sentence when deciding whether to grant a sentence
            reduction. Kincaid, 802 F. App'x at 188; see 18 U.S.C. §
            3553(a)(2)(A). (WL at *10.)

            Despite the serious nature of his health conditions Ruffin
            was receiving medical treatment to manage those
            conditions. (WL at *10-11.)

      This Court will proceed to discuss Franklin's 3553(a) factors in response to

the instant Motion:

      (1)   The nature and circumstance of the instant offense are very serious

            convictions for a firearm and drugs, and his history contains a

            significant record of criminality. The Court also recognizes his

            medical history did not stop his criminal behavior, and is being treated

            at FCI Butner.

      (2)   There is still a need for the sentence imposed to continue to be served

            to reflect the seriousness of the offense, to promote respect for the

            law, to provide just punishment, to deter similar criminal conduct, and

            to protect the public from further crimes of Defendant Franklin.




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      This Court concludes that the Sixth Circuit published opinion in Ruffin, as

applied to the fact in Franklin's case, discussed supra, supports this Court's denial

of Franklin's Motion for Compassionate Release because he remains a danger to

the community.

                                  CONCLUSION

      For the aforementioned reasons, the Court DENIES Juan Franklin's Motion

for Compassionate Release.

      SO ORDERED.

DATED: November 2, 2020                 s/Paul D. Borman
                                        PAUL D. BORMAN
                                        UNITED STATES DISTRICT JUDGE




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